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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:02CR3158-2
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )          MEMORANDUM
                                              )          AND ORDER
ALI ABDUL-AZEZ SOFYAN,                        )
                                              )
                     Defendant.               )

      This matter comes on to consider the government’s motion and request for hearing
pursuant to Rule 35(b) (filing 147). Having considered the matter,

       IT IS ORDERED that:

       (1)    The court construes the government’s motion (filing 147) as a motion under
Federal Rule of Criminal Procedure 35(b), the sentencing statutes and Guidelines. Therefore
the defendant’s motion to compel filing of a Rule 35 motion and supporting brief (filings 133
and 142) are denied as moot.

       (2)    The government’s request for hearing is granted.

      (3)     A hearing on the government’s motion for reduction of sentence pursuant to
Rule 35(b) (filing 147) has been set before the undersigned United States district judge on
Tuesday, August 23, 2005, at 12:30 p.m., in Courtroom No. 1, United States Courthouse and
Federal Building, 100 Centennial Mall North, Lincoln, Nebraska.

        (4)    At the request of the defendant through his counsel, the defendant would like
to participate in the hearing by telephone.

       (5)    The Marshal is directed not to return the defendant to the district.
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     (6)   The defendant is held to have waived his right to be present.

     July 27, 2005.                            BY THE COURT:

                                               s/ Richard G. Kopf
                                               United States District Judge




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